                    Case 1:22-cr-00093-JMS Document 224 Filed 05/06/24 Page 1 of 1 PageID.1451
CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev 07/ 17)
I CIR/DIST / DIV CODE                     12 PERSON REPRESENTED
                                             (02) Jamey Denise Jackson
                                                                                                                                I VOUCHER NUMBER

3 MAG DKT /DEF NUMBER                                  4 DIST DKT /DEF NUMBER                          5 APPEALS DKT /DEF NUMBER                       6 OTHER DKT NUMBER
                                                        1 :22-cr-00093-JMS-2
7 IN CASE/MATIER OF (Case Name)        8 PAYMENTCATEGORY                                9 TYPE PERSON REPRESENTED                         10 REPRESENTATION TYPE
                                       It Felony                D Petty Offense         It Adult Defendant            D Appellant              (See Instructions)
  USA v Jackson, et al                 D Misdemeanor
                                       D Appeal
                                                                D Other                 D Juvenile Defendant D Appellee
                                                                                        D Other
                                                                                                                                                        cc
11 OFFENSE(S) CHARGED (Cite U S Code, Title & Section) Ifmore than one offense, list (up to frve) major offenses charged, according to severity ofoffense.
 FOR LIMITED PURPOSES WHILE DEFENDANT TESTIFI ES IN TRIAL FOR 1 :22-cr-00093-JMS-1 Curtiss E. Jackson
12 ATTORNEY'S NAME (First Name, M.l., Last Name, including any suffv:),                                13 COURTORDER
   AND MAILING ADDRESS                                                                                  D O Appointing Counsel                         lite Co-Counsel
                                                                                                        D F Subs For Federal Defender                  DR Subs For Retained Attorney
 Mark R. Zenger                                                                                         D P Subs For Panel Attorney                    DY Standby Counsel
 Richards & Zenger
 PO Box 3966                                                                                           Prior Attorney's
                                                                                                          Appointment Dates:
 Lihue, HI 96766                                                                                        D Because the above-named person represented has testified under oath or has otherwise
           Telephone Number :
                                                      (808) 652-3318                                   satisfied this Court that he or she (I) is financially unable to employ counsel and (2) does

14 NAME AND MAILING ADDRESS OF IAW FIRM (Only provide per instructions)
                                                                                                       ~-ro-......,..,~-...,r;.,;~~ """"'· ,.,_...,.
                                                                                                       name appears in Item 12 is aP!)2inted t o ~this case, OR
                                                                                                        D 01her (See Instructions)

                                                                                                                                            '""                'd
                                                                                                                           Signature of Presiding Judge~y Order of the Court

                                                                                                                    May 6, 2024                                         May 1, 2024
                                                                                                                       Date of Order                              Nunc Pro Tune Date
                                                                                                       Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                       appointment         D YES       D NO

                             CLAIM FOR SERVICES AND EXPENSES                                                                                      FOR COURT USE ONLY
                                                                                                                TOTAL               MATH/TECH             MATH/TECH
                                                                                         HOURS                                                                                   ADDffiONAL
            CATEGORIES (Attach itemization ofservices with dates)                                              AMOUNT                ADJUSTED              ADJUSTED
                                                                                        CLAIMED                                                                                    REVIEW
                                                                                                               CLAIMED                HOURS                AMOUNT
15          a Arraianment and/or Plea                                                                                   000                                           0 .00
            b Bail and Detention Hearings                                                                               000                                           0 .00
            c Motion Heariru,s                                                                                          000                                           0 .00
       d Trial                                                                                                          000                                           0 .00
     1::
     .,
     = e Sentencing Hearings                                                                                            000                                           0 .00
  ~ f Revocation Hearings                                                                                               000                                           0 .00
  - g Anneals Court                                                                                                     nnn                                           nnn
    h 01her /Snecifv on additional sheets)                                                                              nnn                                           nnn
            IR!.TEPER HOUR - S                              )   TOTALS:                            nnn                  n nn                   nnn                    nnn
16       a Interviews and Conferences                                                                                   000                                           0 .00
     1:: b Obtaining and reviewing records                                                                              000                                           0 .00
   .,= c Legal research and brief writing                                                                               000                                           0 .00
  ...u., d Travel time                                                                                                  000                                           0 .00
     :i e Investigative and other work ISnecifv on additional sheets)                                                   000                                           0 .00
  O IR!.TEPER HOUR - S                                      )   TOTALS:                            0.00                 0 00                   0 .00                  0 .00
17          Travel i = ~0 - (lodama lJ(Jrkin<' meals milea<'e etc.)
18          01her Exoenses (other than expert, /Tanscri:pts, etc.)
GRAND TOTALS (CLAIMED Al\"D ADJUSTED):                                                                              0 00                                              0 .00
19 CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                               20 APPOINTMENT TERMINATION DATE                           21 CASE DISPOSITION
                                                                                                              IF OTHER THAN CASE COMPLETION
       FRO::\I:                                           TO:
22 CLAIM STATUS                        0 Final Payment                O Interim Payment Number                                         0 Supplemental Payment
           Have you previously applied to the court for compensation and/or reimbursement for this case? 0 YES 0 NO               Ifyes, were you paid? 0 YES ONO
           01her 1han from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything ofvalue) from any other source in connec.tion with this
           representation? 0 YES         ONO             Ifyes, give details on additional sheets
           I swear or affirm the n·uth or correctness of the abon statements.
           Signature of Attorney                                                                                                            Date

                                                            APPROVED FOR PAYMENT - COURT USE ONLY
23 IN COURT COMP                               OUTOFCOURTCOMP 1 25 TRAVELEXPENSES                             26 OTHER EXPENSES                        27 TOTALAMT APPR /CERT
                                         124
                                                                                                                                                        $0.00
28 SIGNATURE OF THE PRESIDING JUDGE                                                                            DATE                                    28a JUDGE CODE


29 IN COURT COMP                         130 OUT OF COURT COMP 1 31 TRAVEL EXPENSES                            32 OTHER EXPENSES                       33 TOTALAMT APPROVED
                                                                                                                                                        $0.00
34 SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                                   DATE                                    34a JUDGE CODE
       in excess of the statutory threshold amount.
